Case 2:04-cr-20502-SH|\/| Document 36 Filed 05/17/05 Page 1 of 2 Page|D 48
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IN THE UNITED sTATEs DISTRICT coURT ‘l‘D Y
FoR THE wESTERN DISTRICT oF TENNESSEB§T_HBY 1_' P;,, {, m
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. O4e20502eMa

VS.

JEFFREY HARDIN,

\_/\_./\_1~_/~_/-_/~_/-_/\_/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June 17, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of May, 2005.

M/M-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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J. Patten BroWn
200 Jefferson7 Suite 200
Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

